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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



  DAVID SAMBRANO, individually and on
  behalf of all others similarly situated, et al.,

                          Plaintiffs,

                  v.                                     Civil Action No.: 4:21- 01074-P

  UNITED AIRLINES, INC.,

                          Defendant.


     PLAINTIFFS’ MOTION TO EXTEND TEMPORARY RESTRAINING ORDER

       Pursuant to Federal Rule of Civil Procedure 65(b)(2) and Local Civil Rule 7.1, Plaintiffs

respectfully request that the Court extend the temporary restraining order entered on October 12,

2021 [ECF 66], as modified by the Order clarifying the temporary restraining order [ECF 72],

enjoining Defendant United Airlines, Inc. (“United”) from the conduct described therein. The

temporary restraining order expires on October 26, 2021. The Court ordered mediation [ECF 81]

is scheduled to occur on October 26, 2021.

       Good cause exists because the temporary restraining order may expire before the Court can

rule on whether a preliminary injunction is warranted, and before the parties are able to effectuate

the terms of a settlement agreement, if any, that may be reached at mediation on October 26, 2021.

An extension of the temporary restraining order is necessary to avoid risking irreparable injury

and to maintain the status quo in this case pending resolution of Plaintiff’s Motion for Preliminary

Injunction [ECF 5], or the effectuation of a settlement agreement, if any agreement is reached.




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October 21, 2021                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing motion has been served via the Court’s electronic

filing system upon all counsel of record.



                                                    /s/ Robert C. Wiegand

                                                    Robert C. Wiegand, Attorney for Plaintiffs




                             CERTIFICATE OF CONFERENCE

       On October 21, 2021, I conferred with Donald Munro, attorney for Defendant, regarding

the relief sought in the foregoing motion. Agreement could not be reached because Defendant is

opposed to the relief sought. Accordingly, the foregoing is presented to the Court as opposed.



                                            /s/ Robert C. Wiegand
                                            Robert C. Wiegand, Attorney for Plaintiffs
